                          Case No.: 24-10263



           IN THE UNITED STATES COURT OF APPEALS
                  FOR THE ELEVENTH CIRCUIT

                            Bidi Vapor LLC,

                                           Petitioner,

                                   v.

U.S. Food and Drug Administration; Robert M. Califf, M.D., Commissioner;
U.S. Department of Health and Human Services; Xavier Becerra, Secretary,

                                           Respondents.


   On Review Of FDA Marketing Denial Order (STN PM0003460.PD2)
            Issued Under The Federal Tobacco Control Act


                  PETITIONER BIDI VAPOR LLC’S
                        PRINCIPAL BRIEF


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             CERTIFICATE OF INTERESTED PERSONS
            AND CORPORATE DISCLOSURE STATEMENT

      Pursuant to Eleventh Circuit Rule 26.1-1, Petitioner hereby certifies that

the following have an interest in the outcome of this petition for review:

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      2.    Becerra, Xavier (Secretary, Department of Health and Human

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      3.    Bidi Vapor LLC (Petitioner)

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No. 24-10263, Bidi Vapor LLC v. U.S. Food and Drug Administration, et al.

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      FRAP 26.1 Disclosure Statement: No parent corporation or publicly held

corporation owns 10% or more of any stock in Bidi Vapor LLC.

      11th Cir. R. 26.1-3 Certification: No publicly traded company or

corporation has an interest in the outcome of this appeal.

      11th Cir. R. 26.1-2 Certification: The undersigned certifies that this CIP is

complete at the time of filing.


      Dated: April 15, 2024

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No. 24-10263, Bidi Vapor LLC v. U.S. Food and Drug Administration, et al.


                                           Respectfully submitted,


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            STATEMENT REGARDING ORAL ARGUMENT

      Petitioner Bidi Vapor LLC (“Bidi”) requests oral argument in this

matter. This case involves important legal questions under the Family

Smoking Prevention and Tobacco Control Act (“TCA”), and in particular the

nature and scope of Respondent U.S. Food and Drug Administration’s

(“FDA”) obligation under the TCA to conduct a complete review of all

relevant information in a premarket tobacco product application (“PMTA”)

under the statute’s “appropriate for the protection of the public health”

(“APPH”) standard. 21 U.S.C. §387j. This matter also involves portions of an

extensive administrative record containing scientific and technical information

submitted to FDA by Bidi in support of its PMTA covering Bidi’s tobacco-

flavored electronic nicotine delivery systems (“ENDS”) product, the BIDI®

Stick Classic. Therefore, Bidi believes oral argument will assist the Court in

resolving the issues raised in this appeal.




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                     STATEMENT OF JURISDICTION

      This Court has jurisdiction under Section 912 of the Family Smoking

Prevention and Tobacco Control Act (“TCA”), 21 U.S.C. §387l(a), to review

the Respondent U.S. Food and Drug Administration’s (“FDA”) marketing

denial order (“MDO”) issued to Petitioner Bidi Vapor LLC (“Bidi”) on

January 22, 2024. The MDO denied marketing authorization sought by Bidi

in a premarket tobacco product application (“PMTA”) filed under Section 910

of the TCA, 21 U.S.C. §387j, for Bidi’s tobacco-flavored electronic nicotine

delivery systems (“ENDS”) product, BIDI® Stick Classic. The MDO fully

and finally decided Bidi’s PMTAs at the administrative level. See 21 U.S.C.

§§387j, 387l. Bidi filed a timely Petition for Review with this Court on January

26, 2024 pursuant to the 30-day deadline set forth in 21 U.S.C. §387l(a).

Venue is proper in this circuit under 21 U.S.C. §387l(a) as Bidi is

headquartered in Grant-Valkaria, Florida.




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                          STATEMENT OF THE ISSUES

      Petitioner Bidi Vapor LLC (“Bidi”) filed an extensive premarket tobacco

product application (“PMTA”) with Respondent U.S. Food and Drug

Administration (“FDA”) under the Family Smoking Prevention and Tobacco

Control Act (“TCA”) which sought FDA’s authorization to market and sell

the BIDI® Stick Classic, a tobacco-flavored electronic nicotine delivery

systems (“ENDS”) product (i.e., e-cigarette). FDA denied the PMTA based

on three alleged deficiencies, concluding it did not have sufficient information

to determine whether the product met the TCA’s “appropriate for the

protection of the public health” (“APPH”) standard. This case raises the

following issues:

      1.    Did FDA act unlawfully when it admittedly failed to conduct a

full toxicological assessment of the BIDI® Stick Classic, including a “cycle 2”

toxicological review, and as a result never considered extensive toxicological

evidence submitted by Bidi demonstrating the BIDI® Stick Classic presents far

less health risk than combustible cigarettes and is otherwise APPH?

      2.    Did FDA act unlawfully when it denied marketing authorization

based on each alleged deficiency standing alone instead of balancing each one

against information and significant data in the PMTA demonstrating, inter alia,




                                        1
the public health benefits of the BIDI® Stick Classic or explaining how each

deficiency outweighed such benefits so as to justify a no APPH finding?

        3.     Did FDA act unlawfully when it effectively imposed “tobacco

product standards” – specific requirements that must be adopted under the

TCA through formal notice and comment rulemaking – by requiring Bidi to

satisfy certain product testing obligations, as well as meet nicotine level and

other related restrictions, under the pretense of the alleged deficiencies?

        4.     Did FDA act in an arbitrary and capricious manner when it: (i)

ignored evidence and comments submitted by Bidi in the record going directly

to an APPH finding; (ii) failed to explain its allegations in other than

conclusory terms, including where they were wholly contradicted by FDA’s

own findings in the record; (iii) reversed prior FDA policy, without

acknowledging or explaining the change, regarding the role of nicotine levels

and abuse liability (i.e., addiction potential) in ENDS products under the

APPH standard; and (iv) treated Bidi differently than other similarly-situated

ENDS products in the PMTA review process?

                          STATEMENT OF THE CASE

   I.        Nature of the Case

        This case challenges Respondent U.S. Food and Drug Administration’s

(“FDA”) denial of marketing authorization for a tobacco-flavored electronic


                                         2
nicotine delivery systems (“ENDS”) product, manufactured and sold by

Petitioner Bidi Vapor LLC (“Bidi”), as unlawful under the Family Smoking

Prevention and Tobacco Control Act (“TCA”) and the Administrative

Procedure Act (“APA”). As required by the TCA, Bidi submitted to FDA an

extensive premarket tobacco product application (“PMTA”) containing

information and data demonstrating that its tobacco-flavored ENDS product,

branded the BIDI® Stick Classic, meets the TCA’s “appropriate for the

protection of the public health” (“APPH”) standard.

      On January 22, 2024, FDA issued Bidi a marketing denial order

(“MDO”) prohibiting the continued marketing and sale of the BIDI® Stick

Classic in the United States. FDA-BIDI-000046-56. The MDO was based on

a mere three alleged deficiencies in the PMTA, and not on any holistic

balancing of the public health effects of the product. In this regard, the MDO

was in clear violation of the TCA, its implementing regulations, and FDA

guidance. Furthermore, in issuing the MDO, FDA engaged in arbitrary and

capricious decision-making under the APA.

      This is not the first time this Court has considered FDA’s denial of

PMTAs submitted by Bidi. On August 23, 2022, this Court vacated and

remanded MDOs issued to Bidi for its non-tobacco flavored ENDS products

because FDA had violated the TCA and APA, and in particular failed to


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consider relevant evidence in the form of marketing and access restrictions

implemented by Bidi to address underage use. Bidi Vapor LLC v. FDA, 47 F.4th

1191 (11th Cir. 2022) (“Bidi I”).

   II.     The Tobacco Control Act And FDA’s Deeming Rule

         In 2009, Congress enacted the TCA, amending the Food, Drug and

Cosmetic Act (“FDCA”), to give FDA regulatory authority over the marketing

and sale of “tobacco products.” 21 U.S.C. §387, et seq. Six years later, on

August 8, 2016, FDA’s “Deeming Rule” went into effect, which applied the

TCA to ENDS and other tobacco products that had not been initially regulated

under the TCA. 21 U.S.C. §387a(a); 81 Fed. Reg. 28974 (May 10, 2016).

         Consequently, ENDS were immediately subject to numerous TCA

provisions, including a requirement that ENDS manufacturers, including Bidi,

obtain premarket authorization from FDA to sell their ENDS products. 21

U.S.C. §387j (attached as Addendum). A manufacturer must submit a PMTA

which, as discussed below, entails a time-consuming and costly process of

compiling extensive scientific, technical, and marketing data that FDA must

review and weigh before granting market authorization.




                                        4
   III.    The TCA’s “Appropriate For The Protection Of The Public
           Health” (“APPH”) Standard Requires A Holistic, Multi-Factor,
           Multi-Disciplinary Weighing Or Balancing Analysis

      A.      Statutory Language

      When deciding whether to grant an ENDS product market

authorization, the TCA requires FDA to conduct a complex, science-based

evaluation based on all contents in a PMTA to determine if the product is

“appropriate for the protection of the public health” (“APPH”). FDA must

make that determination “with respect to the risks and benefits to the

population as a whole, including users and nonusers of the tobacco product, and

taking into account – (A) the increased or decreased likelihood that existing

users of tobacco products will stop using such products; and (B) the increased

or decreased likelihood that those who do not use tobacco products will start

using such products.” 21 U.S.C. §387j(c)(4) (emphasis added).

      Moreover, the statute lists numerous forms of other evidence that must

be in any PMTA, including data on health risks, ingredient and additive

information, manufacturing practices, product samples, labeling specimens,

and any other information required by FDA. 21 U.S.C. §387j(b)(1). The TCA

also explicitly envisions that FDA consider the positive impact manufacturer-

implemented restrictions on the sale and distribution of a product to minors

could have on the APPH determination. 21 U.S.C. §387j(c)(1)(B).


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      All of this is consistent with Congress’s choice of words in adopting the

APPH standard. Congress did not employ any words or terms of limitation;

rather, it used the word “appropriate”—“the classic broad and all-

encompassing term that naturally and traditionally includes consideration of

all the relevant factors.” Michigan v. EPA, 576 U.S. 743, 752 (2015).1

      B.    FDA Regulations, Guidance, And Public Statements

      FDA, not surprisingly, has repeatedly described APPH as a multi-

factored and multi-disciplinary standard. For instance, FDA noted in October

2021 when promulgating its final PMTA Rule that APPH involves a “complex

determination,” 86 Fed. Reg. 55300, 55335 (Oct. 5, 2021), that FDA

“considers many factors,” id. at 55314, and that FDA does not make a

“determination on one static set of requirements,” id. at 55385. FDA further

declined “to assign weight to different types of evidence,” id. at 55335,

emphasizing APPH “requires a balancing” of risks and benefits. Id. at 55384.

FDA also refused “to create a series of criteria” that all products must meet for

APPH, stated that an APPH “determination would involve consideration of

many factors,” and noted it “will be made with respect to…the population as a



1
 Prior to scientific review, FDA conducts several screening reviews of the
PMTA called an “acceptance review” and “filing review.” 21 C.F.R.
§1114.27. Bidi successfully completed both reviews. FDA-BIDI-000001-10.

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whole, rather than whether a product meets each item in a series of specific

criteria.” Id. at 55386. FDA committed to determining APPH on an

“individualized” basis, the “risks and benefits of a specific tobacco product”

and “based on all of the contents of the application.” Id. at 55320, 55390

(emphasis added).

      In June 2019, FDA also issued final Guidance for Industry: Premarket

Tobacco Product Applications for Electronic Nicotine Delivery Systems (“PMTA

Guidance”) (which was updated in March 2023) that was “intended to assist

persons submitting” PMTAs. FDA-BIDI-003323, 003325. Specifically, FDA

said it “weighs all of the potential benefits and risks from information

contained in the PMTA” to make an APPH determination. FDA-BIDI-

003324; see also FDA-BIDI-003332 (updated version). During an October 2018

public meeting, FDA similarly described a PMTA review as a “multi-

disciplinary approach,”2 and likewise during an October 2019 public meeting

FDA reiterated the “multi-disciplinary” characterization and then described

APPH by citing to numerous factors that must be considered (e.g., health risks,

marketing plans). FDA-BIDI-003326-27; 003329-30, 003331.




2
 FDA, Tobacco Product Application Review Public Meeting, at 119 (Oct. 22,
2018), https://tinyurl.com/w6k59jka.

                                        7
      The PMTA Guidance, which runs over 50 pages, also identifies

numerous types of information and data that are considered by FDA as being

supportive of an APPH finding. These include, inter alia, sales restrictions

guarding against underage use, label warnings, health risk studies,

toxicological and pharmacological testing, public literature reviews,

pharmacokinetic evaluations, and consumer perception and intention studies.

FDA-BIDI-003332-40. See 21 C.F.R. §1114.7 (listing extensive information

and data required for PMTAs); FDA-BIDI-003341-49 (updated version). The

following FDA-created diagram depicts the many APPH factors and related

disciplines it must consider:3




3
 Dr. Brian King, Director, FDA Center for Tobacco Products, FDA’s
Comprehensive Approach To Tobacco Product Regulation: An Update From FDA’s
Center for Tobacco Products (Jan. 29, 2024), https://tinyurl.com/ydm4vje9.

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      C.    Toxicology Assessments Are A Key Component Of APPH
            Review

      The TCA, as well as FDA’s rules and guidance, confirm that

toxicological information and FDA’s evaluation of such data are, in particular,

fundamental to any APPH determination. The TCA itself requires a PMTA to

include all information regarding the “health risks” of the ENDS product and

“whether such tobacco product presents less risk than other tobacco products”

(e.g., combustible cigarettes), including “ingredients [and] additives.” 21

U.S.C. §387j(b)(1)(A)-(B). The final PMTA Rule, in turn, requires information

regarding the “health effects” and “toxicological profile” (e.g., genotoxicity,

reproductive toxicity, immunotoxicity, and acute and chronic toxicity) of the

product, including the “toxicity of the ingredients, additives, and HPHCs”

                                        9
(i.e., harmful and potentially harmful constituents). 21 C.F.R.

§1114.7(k)(1)(i)(A)-(B).

      The PMTA Guidance also highlights the significance of a complete

toxicological review. In assessing APPH, FDA states:

      [K]nowing the full assessment of the toxicological effects of your
      ENDS (e.g., ingredients, components, use of product) is important
      to assess the health effects on users and nonusers under [Section
      387j(b)]. As such, FDA assesses the toxicology of the product to
      determine whether product use would have a detrimental effect on
      users’ and nonusers’ health.

FDA-BIDI-003341 (updated version) (emphasis added). See also FDA-BIDI-

003342-43 (recommending a summary in the PMTA of “toxicological testing

outcomes”); 003350 (FDA interpreting Section 387j(b) as requiring

information on “toxicology”); 003351-52 (FDA stating that “[t]o help

understand the health risks of a tobacco product, FDA recommends providing

a full assessment of the toxicological…profile associated with the [ENDS]

including, if available:…Analysis of constituents, including HPHCs and other

toxicants…In vitro toxicology studies (e.g., genotoxicity studies, cytotoxicity

studies); Computational modeling of the toxicants in the product (to estimate

the toxicity of the product); and In vivo toxicology studies.”).

      Indeed, “TOXICOLOGY” is identified by its own icon in the above

FDA diagram depicting its multi-disciplinary PMTA review process.



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     IV.    Bidi Vapor LLC

        Bidi Vapor was founded by Niraj Patel, a former smoker who quit

combustible cigarettes using disposable ENDS.4 Having witnessed first-hand

the deleterious impact of traditional cigarettes, Mr. Patel left his family’s

tobacco business in India to start his own venture developing tobacco product

alternatives for adult smokers. Id. at ¶¶4-9. Using his degrees in chemistry and

pharmacology, he developed various ENDS technologies culminating in the

BIDI® Stick – a high-quality, tamper-resistant, UL-certified disposable ENDS

that contains pre-filled e-liquid and uses an innovative sensitivity control

system to ensure consistent nicotine delivery. Id. at ¶¶20-26. Like all ENDS,

the BIDI® Stick Classic does not contain any tobacco leaf material and does

not involve the heating or combustion of tobacco.

        The BIDI® Stick comes in eleven (11) flavor varieties, with the tobacco-

flavored product – the BIDI® Stick Classic – at issue in this case. As discussed

below, there is no indication that minors under 21 years-old are using the

BIDI® Stick Classic and FDA has not presented any evidence to the contrary.

That said, from its inception, Bidi recognized the legitimate public health




4
    Bidi Stay Mot. (Feb. 2, 2024), Patel Decl. at ¶¶7-8.

                                          11
concerns over underage ENDS use, and made youth-access prevention, adult-

focused marketing, and regulatory compliance its top priorities. Id. at ¶¶20-43.

        By way of example, Bidi (i) does not market its products to young people

(e.g., Bidi does not use social media, hire models or influencers, or advertise

on television or radio, or at sporting or entertainment events); (ii) uses only

non-descriptive brand names (e.g. Dawn, Gold) to identify products so they do

not resemble kid-friendly foods or drinks, or mimic cartoon characters or fruity

images; (iii) employs an advanced anti-counterfeiting technology and

authentication system; (iv) does not sell BIDI® Sticks directly to consumers

via the internet (instead, Bidi relies on a third party vendor who delivers

products from local brick-and-mortar stores and employs strict age-gating

processes and Prevent All Cigarette Trafficking Act (“PACT Act”) compliance

measures); and (v) uses packaging containing warnings, instructions, and

informational text, including FDA required nicotine addiction warnings. Id.

   V.      Bidi’s PMTAs, Amendments, And Deficiency Letter Response

        Bidi submitted comprehensive PMTAs for its eleven BIDI® Sticks,

including the BIDI® Stick Classic, on September 8, 2020. These applications

included in vitro toxicity testing, e-liquid and aerosol analysis of harmful and

potentially harmful chemicals (“HPHCs”), comprehensive scientific literature

reviews, comparisons to other tobacco products, hardware safety and battery


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certification information, manufacturing and quality control details,

independent and validated consumer insight surveys, environmental

assessments and stability data, as well as details about Bidi’s stringent youth-

access prevention measures, adult-focused marketing practices, and post-

market surveillance strategies. The submitted PMTAs, including the

underlying data, spanned over 285,000 pages combined. Id. at ¶50.

      As completing a PMTA is a complex and time-consuming endeavor,

FDA’s regulations allow manufacturers to submit amendments to a PMTA

before FDA makes a final decision on the application. 21 C.F.R. §1114.9.

Prior to FDA issuing the MDO in January 2024, Bidi submitted twenty (20)

PMTA amendments. Id. at ¶55; FDA-BIDI-00053-56. These included a

consumer insight survey, product pattern of use and likelihood of use studies,

updated scientific literature reviews, abuse liability assessments, product

stability studies, a consumer perception and behavioral intentions study,

aerosol testing results, a toxicological assessment, a nicotine pharmacokinetics

and effects study, and, most recently, an update on an ongoing adult smoker

switching study. Supra note 4 at ¶55.

      On March 20, 2023, FDA sent Bidi a deficiency letter, which identified

thirty-two items for the company to address in the PMTA regarding the BIDI®

Stick Classic. FDA-BIDI-000015-41. 21 C.F.R. §1114.25 (allowing deficiency


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letters). Bidi filed a comprehensive response on June 18, 2023. See infra.5 The

response included extensive additional information and data (i.e., aerosol

testing, in vitro studies, an “extractables” study, and a risk assessment)

regarding the benefits of the BIDI® Stick Classic to adult, addicted smokers,

and particularly regarding the product’s substantially lower health risks

compared to combustible cigarettes. See infra.

       In total, Bidi has spent over $8.2 million compiling the PMTA and

amendments, with $1.6 million of that amount spent on responding to the

deficiency letter. Id. at ¶62.

    VI.   FDA’s Marketing Denial Order (“MDO”)

       On January 22, 2024, FDA issued a marketing denial order (“MDO”)

for the BIDI® Stick Classic, FDA-BIDI-000046-56, concluding the product is

not APPH. 21 U.S.C. §387j(c)(2)(A); 21 C.F.R. §1114.33. The MDO,

however, was based on only three discrete grounds (or alleged deficiencies):

    • Bidi relied on test data reported in published literature for aerosol levels
      of harmful and potentially harmful constituents (“HPHCs”) in similar
      tobacco-flavored ENDS products that were allegedly insufficient or
      inappropriate for a comparison against HPHC aerosol levels detected in
      the BIDI® Stick Classic. FDA-BIDI-000047-48 (“Deficiency One”)




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 FDA did not include Bidi’s response in the administrative record, but counsel
for FDA has confirmed that it falls under footnote 1 of the certified
administrative record index as part of Bidi’s PMTA submission.

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   • Bidi tested for substances (e.g., metals) that might have leached from the
     BIDI® Stick Classic device and its hardware components into the
     enclosed, pre-filled e-liquid by testing the product’s aerosol using a gas
     chromatography mass spectrometry (“GC-MS”) technique rather than
     conducting a leachability test using detection methods in addition to
     GC-MS. FDA-BIDI-000049 (“Deficiency Two”)

   • The BIDI® Stick Classic’s nicotine levels may lead to continued abuse
     liability (i.e., risk of addiction) in adult tobacco product users (e.g.,
     smokers) and pose an addiction risk in nonusers (e.g., youth). FDA-
     BIDI-000049-50 (“Deficiency Three”).

      FDA also included in the administrative record an internal staff memo

called a Technical Project Lead (“TPL”) Review – a document that was not

cited in the MDO for support – which purportedly sets forth FDA’s rationale

underlying the MDO and APPH finding. FDA-BIDI-000788-855. FDA

argues in the TPL that each deficiency was “independently sufficient” to

support the MDO. FDA-BIDI-000793.

                         STANDARD OF REVIEW

      When an ENDS manufacturer challenges an MDO, the TCA requires

this Court’s review be conducted pursuant to the APA, 21 U.S.C. §387l(b)

(citing 5 U.S.C. §706(2)(A)). Specifically, the Court must evaluate whether the

MDO was “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with the law.” 5 U.S.C. §706(2)(A). Because Bidi also challenges

the lawfulness of the MDO under the TCA itself, the Court must also

determine whether the MDO is: (i) in excess of statutory jurisdiction,

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authority, or limitations, or short of statutory right; (ii) without observance of

procedure required by law; or (iii) unsupported by substantial evidence. 5

U.S.C. §706(2)(C)-(E).

      Agency action is arbitrary and capricious where it failed to rely on

factors Congress intended to be evaluated or consider an important aspect of

the problem. Bidi Vapor, 47 F.4th at 1202 (citation omitted). An “agency

cannot ignore evidence that undercuts its judgment; and it may not minimize

such evidence without adequate explanation.” Genuine Parts Co. v. EPA, 890

F.3d 304, 312 (D.C. Cir. 2018).

      Agency action must also be “reasonable and reasonably explained.” Bidi

Vapor, 47 F.4th at 1202; Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto Ins.

Co., 463 U.S. 29, 43 (1983) (agency must examine relevant evidence and

articulate a satisfactory explanation). An agency acts in an arbitrary and

capricious manner if it has “offered an explanation for its decision that runs

counter to the evidence before the agency.” State Farm, 463 U.S. at 43.

      Moreover, it is arbitrary and capricious for an agency to apply different

standards to similarly situated entities without a reasoned explanation.

Burlington Northern and Santa Fe Railway Co. v. Surface Trans. Bd., 403 F.3d 771,

777 (D.C. Cir. 2005) (citation omitted). Finally, “[r]easoned decision-making

requires that when departing from precedents or practices, an agency must


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offer a reason to distinguish them or explain its apparent rejection of their

approach.” Physicians for Social Responsibility v. Wheeler, 956 F.3d 634, 644

(D.C. Cir. 2020) (internal quotations marks and citation omitted).

                        SUMMARY OF ARGUMENT

      1.    This appeal challenges as unlawful Respondent U.S. Food and

Drug Administration’s (“FDA”) marketing denial order (“MDO”) issued to

Petitioner Bidi Vapor LLC (“Bidi”) which prohibits Bidi from selling its

tobacco-flavored electronic nicotine device systems (“ENDS”) (i.e., electronic

cigarette) – branded the BIDI® Stick Classic – in the United States. Under the

Family Smoking Prevention and Tobacco Control Act (“TCA”), ENDS

manufacturers must submit detailed premarket tobacco product applications

(“PMTA”) to FDA and secure market approval before entering or continuing

to operate in the marketplace.

      2.    Pursuant to the TCA, an ENDS manufacturer must demonstrate

its product is “appropriate for the protection of the public health” or “APPH.”

In making an APPH determination, FDA must engage in a holistic, multi-

disciplinary, balancing exercise in which it must weigh all information

submitted by the manufacturer. As set forth in the TCA, as well as FDA’s

accompanying regulations and guidance, this includes toxicological data




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regarding the relative health risks of the ENDS product, and particularly in

comparison to risks associated with traditional combustible cigarettes.

      3.    The MDO is based on only three purported deficiencies in the

PMTA regarding: (i) testing done on the BIDI® Stick Classic’s aerosol for

harmful and potentially harmful constituents (“HPHCs”); (ii) testing

conducted on the product for compounds that could potentially leach from the

device into the aerosol; and (iii) nicotine exposure levels. According to FDA,

each discrete deficiency constituted an independent basis for the MDO.

      4.    This is the second time Bidi has been forced to seek judicial relief

in this Court to ensure FDA fully complies with its obligations under the TCA

and the Administrative Procedure Act (“APA”). In the prior case, this Court

vacated MDOs issued for Bidi’s non-tobacco flavored products because FDA

refused to consider all relevant information submitted by Bidi, particularly the

aggressive marketing and access restrictions it had implemented to guard

against underage use. Bidi I, 47 F.4th 1191 (11th Cir. 2022).

      5.    Now FDA is at it again. To begin, FDA concedes it did not

conduct a “cycle 2” toxicological review of extensive information and data

submitted by Bidi demonstrating that its product is much less risky than

combustible cigarettes and is otherwise APPH. These submissions included:

(i) test results comparing the HPHC levels detected in the BIDI® Stick Classic


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versus combustible cigarettes and other tobacco products; (ii) in vitro studies

indicating low overall health risks, including cancer endpoints, of the BIDI®

Stick Classic; (iii) an “extractables” study identifying compounds that might

leach from the device into the product’s e-liquid or aerosol; and (iv) a risk

assessment demonstrating the reduced health risks of the BIDI® Stick Classic.

FDA did not review or weigh this information; that fact standing alone is

sufficient to vacate and remand the MDO.

      6.    And it does not get any better. FDA simply relied on each

deficiency to issue the MDO without ever balancing each one against all of the

other information in the PMTA relevant to, inter alia, the health benefits of the

BIDI® Stick Classic – including the toxicological data that should have been

considered in the cycle 2 analysis – or showing how each deficiency

outweighed such benefits so as to justify issuing an MDO. That much is

clearly required by the TCA, but FDA admitted it did not do so.

      7.    And FDA did not stop there. With regard to the deficiencies

themselves, FDA ignored comments and evidence submitted by Bidi

addressing the alleged shortcomings or otherwise dismissed them in conclusory

fashion, and wholly contradicted its own findings. In one instance, FDA

abandoned its prior policy, which had been applied to other manufacturers

when granting marketing approval for tobacco-flavored products, that


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permitted nicotine exposures on par with combustible cigarettes to promote

switching by smokers to less dangerous ENDS. Now, any abuse liability

means that FDA will issue an MDO, an absurd result under a statute that aims

to move addicted adult smokers to less risky tobacco products. FDA never

even acknowledged, let alone justified, such a drastic shift in policy.

        8.     Finally, in an effort to avoid the TCA’s notice and comment

rulemaking requirements, FDA relied on the deficiencies to effectively impose

“tobacco product standards” on Bidi regarding testing protocols and nicotine

yields. Such standards may only be established by following rigorous notice

and other procedures put in place to protect stakeholders, including the

regulated community. FDA cannot circumvent these provisions under the

pretext of an APPH review.

        9.     Based on the foregoing, FDA violated the TCA and APA, and

otherwise proceeded in an arbitrary, capricious, and unlawful manner.

                                  ARGUMENT

   I.        An MDO Must Be Vacated And Remanded Where It Is Not Based
             On A Holistic Review Of The PMTA, Failed To Consider All
             Relevant Data And Information In The PMTA, Or Enforced A
             Tobacco Product Standard That Was Not Adopted Through Notice
             and Comment Rulemaking
        FDA based the MDO on three discrete deficiencies without ever

engaging in a multi-factored and multi-disciplinary analysis that weighed and


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balanced, particularly in the context of those deficiencies, the potential benefits

of the BIDI® Stick Classic when making its APPH determination. To make

matters worse, FDA outright ignored significant information and data

submitted by Bidi, including responses to FDA’s deficiency letter, that were

directly relevant to the alleged deficiencies and APPH finding, or otherwise

failed to explain FDA’s consideration of such material. And FDA cut corners

in violation of the TCA’s plain language when it effectively imposed “tobacco

product standards” on Bidi, such as product testing standards and nicotine

restrictions, without going through statutorily required notice and comment

rulemaking. Each of these shortcomings, standing alone or together, are

grounds for vacating and remanding the MDO. 5 U.S.C. §§706(2)(A), 2(C)-

(E); City of Arlington, Tex. v. FCC, 569 U.S. 290, 297 (2013) (when agency

exceeds power delegated by Congress it acts ultra vires).

      Indeed, the D.C. Circuit recently held as much when vacating an MDO

issued against another tobacco-flavored ENDS product. In Fontem US, LLC v.

FDA, 82 F.4th 1207 (D.C. Cir. 2023), the Court considered an MDO that, like

the one issued to Bidi, relied on discrete deficiencies to find that Fontem’s

tobacco-flavored ENDS product was not APPH. Id. at 1213. Significantly, in

describing FDA’s burden under the TCA, the D.C. Circuit held FDA must: (i)

“engage in [a] holistic public health analysis”; (ii) “account [for] the potential


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benefits of unflavored [i.e., tobacco-flavored] products or weigh those benefits

against risks to the public health”; (iii) “make a single predictive judgment

whether a given tobacco product, on balance, will benefit the public as a

whole”; (iv) “consider both the ‘risks and benefits’ of the product” and the

“overall effect of a product for the ‘population as a whole’” (emphasis in

original); (v) “engage in a high-level balancing test as to the overall public

health consequences”; and (vi) “make an all-things-considered judgment” as to

whether a produce is APPH. Id. at 1211, 1215, 1218.

      Moreover, the D.C. Circuit held that FDA “should generally be

concerned with the most epidemiologically significant factors associated with

approving the marketing of a new product.” Id. at 1215. Specifically, FDA

must pay careful attention to “balance[ing] the benefits of transitioning existing

smokers to the product against the costs of inducing non-smokers to take up

smoking.” This is so as “[w]eighing the relative risks of new tobacco products

will often be central to the public health analysis given the reality that there are

both many smokers who wish to stop smoking and many individuals who do

not presently consume tobacco products at all.” Id. In other words, FDA

cannot ignore evidence relevant to one side of the equation: the benefits to

addicted adult smokers. FDA “must analyze the tradeoffs necessary to make a

public health finding…[and] explain how the specific deficiencies relate to its


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overall conclusion that [the applicant] failed to demonstrate its unflavored [i.e.,

tobacco-flavored] products were” APPH. Id. at 1217.

      Finally, the Fontem court made clear that FDA cannot, under the guise

of an APPH review, do an end-run on the TCA’s provisions governing the

promulgation of tobacco product standards. Specifically, FDA may

promulgate standards through notice and comment rulemaking which set

uniform rules that govern, inter alia, the composition of tobacco products,

including nicotine yields and reductions in product constituents or ingredients,

as well as provisions for the testing and measurement of the tobacco product.

21 U.S.C. §387g(a)(4). FDA may also, separate and apart from a finding that

a product is not APPH (see 21 U.S.C. §387j(c)(2)(A)), issue an MDO if a

product or manufacturer violates a tobacco product standard. 21 U.S.C.

§387j(c)(2)(D); Fontem, 82 F.4th at 1218-19 (“The failure to conform to such a

standard is another independent ground for denying an application.”).

      But what FDA cannot do is effectively impose a tobacco product

standard that was never adopted through notice and comment rulemaking

unless it “explain[s] how the deficiencies relate to the overall public health

consequences” of the tobacco-flavored product, including the “potential

benefits of [the product] for the public at large…[and] the possibility that

existing users of combustible tobacco products such as cigarettes would reap


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health benefits by transitioning to…vaping products.” Fontem, 82 F.4th at

1219 (“FDA cannot impose regulatory requirements through its authority to

make public health findings.”). In other words, an MDO cannot simply rest

on “highly technical deficiencies” without demonstrating that they tip the

scales in an APPH analysis. Id.6

      Taking these statutory factors into account, the D.C. Circuit vacated the

MDO as to Fontem’s tobacco-flavored ENDS product because FDA, while it

identified several deficiencies going to the “physical properties” of the

products, failed to consider them in the overall context of an APPH finding.

Id. at 1217, 1219. For example, one purported deficiency included a failure to

provide sufficient information regarding the safety of the product, particularly

the need for aerosol testing. Id. at 1213. FDA demanded information

regarding “quantities of certain compounds” that could result in the “emission

of harmful chemicals.” Id. at 1219-20. Although Fontem had produced

evidence showing its aerosol concentrations were much lower than


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 When establishing a tobacco product standard, FDA must also comply with
additional requirements, such as considering the “technical achievability of
compliance,” accounting for any comments submitted by the Tobacco
Products Scientific Advisory Committee (“TPSAC”), weighing any adverse
impacts that could result for adult tobacco users, and providing sufficient time
for manufacturers to comply. 21 U.S.C. §§387g(b)(1)-(2), (d)(1)-(2); Fontem, 82
F.4th 1219-20. These provisions were put in place to provide “notice and
predictability for manufacturers.” Fontem, 82 F.4th at 1219.

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combustible cigarettes, FDA wanted more aerosol data. Id. at 1213, 1220. But

FDA “did not explain why this deficiency was sufficiently serious to outweigh

any benefits associated with Fontem’s products across the population as a

whole.” Id. at 1220. Nor did it “acknowledge, must less analyze, these

benefits…[or] suggest how the harms…were so risky as to outweigh these

benefits.” Id.

      Similarly, another deficiency criticized the lack of information regarding

“puffing regimens” and “toxicant yields” whereby “higher puff counts could

increase the heater coil temperature, thus resulting in higher toxicant” levels.

Id. (internal quotations omitted). Although Fontem had provided evidence of

the conservative approach it had taken when measuring aerosol concentrations

(i.e., its puffing regimens), FDA was worried users could still operate the

device in ways that increased exposures to harmful constituents. Id. at 1213,

1220. But FDA failed to explain how “negative consequences associated with

toxicant yields or aerosol temperature were so serious as to outweigh the

asserted benefits of Fontem’s products.” Id. at 1220.

      Instead, as to those two deficiencies, what FDA had done was impose

tobacco product standards that had not gone through required notice and

comment proceedings. If FDA “wishes to prescribe uniform rules requiring

“aerosol constituent testing” or “require the testing of tobacco products,” it


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must promulgate regulations. Id. (internal quotations omitted) (“The failure to

meet such a standard would be a ground for denying the application, and no

public health balancing would be necessary.”). However, “because the FDA

has not promulgated such regulations and instead has chosen to evaluate

Fontem’s application on public health grounds, it must consider all the relevant

public health considerations, including the benefits of the product.” Id.

(emphasis in original).

      Finally, in yet another deficiency, FDA complained that Fontem had not

provided “sufficient information…[regarding] the names, accreditation, and

specifications of certain laboratories used by Fontem” for its quality control

testing. Id. As the Court put it, these “may or may not be legitimate concerns,

but they do not reflect the required statutory balancing for denying an

application on public health grounds. The agency did not balance its concerns

against the potential benefits of Fontem’s products. Nor did [FDA] explain

why these deficiencies were so serious as to justify a finding that Fontem had

not shown its products would be” APPH. Id. at 1220-21.7



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  The Fontem court also noted that FDA, if it wanted to issue an MDO based
solely on the lack of laboratory and testing information, and without any
further public health balancing, was required to adopt a “good manufacturing
standard” through notice and comment rulemaking. 82 F.4th at 1220; 21
U.S.C. §387j(c)(2)(B); 21 U.S.C. §387g (good manufacturing standards).

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          As discussed below, FDA failed, as it did in Fontem, to explain how the

discrete deficiencies identified in the MDO outweighed the substantial benefits

of the BIDI® Stick Classic to addicted adult cigarette smokers and otherwise

ignored relevant information and data in Bidi’s PMTAs. Instead, FDA relied

on the three purported discrepancies to simply bypass the TCA’s provisions

governing tobacco product standards.

    II.      FDA Concedes It Did Not Conduct A “Cycle 2” Toxicological
             Review And For That Reason Alone The MDO Must Be Set Aside

          FDA admits in the TPL that it did not complete a “cycle 2” toxicological

review. FDA-BIDI-000795-96, -000829. A cycle 2 review is conducted after a

manufacturer responds to an FDA deficiency letter and, in particular,

evaluates any additional information submitted by the applicant in response to

the alleged deficiencies.8 FDA further concedes in the TPL that the “TPL

review…does not include a toxicological evaluation of the new product and

does not rely on any toxicological findings.” FDA-BIDI-000795 (emphasis

added); see FDA-BIDI-000829 (“in the absence of a cycle 2 toxicology review,

this TPL review cannot draw final conclusions with respect to the toxicant

posed by the new product.”). The TPL does not even identify a cycle 2


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 Department of Health and Human Services, Office of Inspector General, The
Food and Drug Administration Needs To Improve The Premarket Tobacco Application
Review Process For Electronic Nicotine Delivery Systems To Protect Public Health
(Nov. 8, 2023), at 6, 10. See https://tinyurl.com/jy5fny3b.

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reviewing toxicologist. FDA-BIDI-000796. Under this Court’s precedent, the

absence of such a cycle 2 analysis is fatal to the MDO.

      Specifically, when previously vacating MDOs issued by FDA for Bidi’s

non-tobacco flavored ENDS products, this Court held that “agency action is

lawful only if it rests on a consideration of relevant factors” and that

“[n]ormally an agency rule would be arbitrary and capricious if the agency

entirely failed to consider an important aspect of the problem.” Bidi I, 47 F.4th

at 1202 (citations and internal quotations omitted). To determine what

relevant factors an agency must consider, this Court looks to the underlying

statute, associated regulations, and agency guidance. Id. at 1202-03.

      This Court noted in Bidi I that the TCA, the final PMTA Rule, and

various guidance stressed the importance of marketing and access restrictions

implemented by a manufacturer to the question of whether a particular ENDS

product posed a risk to underage consumers. Id. However, FDA admitted in

the MDOs and TPLs that it did not consider the extensive focus on youth

marketing and access prevention. 47 F.4th at 1203; supra at 12. This Court

therefore concluded that because “the marketing and sales-access-restriction

plans were relevant factors and addressed an important aspect of the

problem…it was arbitrary and capricious for [FDA] not to consider them.”

Bidi I, 47 F.4th at 1203 (citation and internal quotations omitted).


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      The same holds true here. Under the TCA, the final PMTA Rule, and

PMTA Guidance, FDA must conduct a toxicology review when making an

APPH determination. This includes an assessment of the BIDI® Stick

Classic’s aerosol for HPHCs and other constituents that might pose a risk, as

well as other data that inform the product’s toxicological profile, such as in

vitro studies. Importantly, this must also involve a comparison of the

toxicological risks of combustible cigarettes versus the risks of partially or fully

switching to an ENDS product. Supra at 21-23; Fontem, 82 F.4th at 1215

(requiring consideration of the benefits to adult smokers who switch).

      In response to FDA’s deficiency letter, Bidi submitted additional data

and information demonstrating the substantially lower health risks of the

BIDI® Stick Classic when compared to combustible cigarettes. First, Bidi

conducted aerosol testing under non-intense and intense puffing conditions

over the lifespan of a BIDI® Stick Classic for all HPHCs identified in FDA’s

deficiency letter for evaluation, as well as three additional tobacco specific

nitrosamines. FDA-BIDI-003359. Specifically, Bidi tested for exposures to

base e-liquid ingredients, potential heat degradation byproducts, contaminants

or impurities, and potential leachable compounds from the device’s coil

components, and then measured them against levels typically found in

cigarettes. FDA-BIDI-003365-76.


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      As reported by Bidi, “overall decreases in the number and levels of

HPHCs measured in the BIDI® Stick Classic aerosols compared to cigarette

smoke indicate that switching to the BIDI® Stick Classic is likely to result in

lower toxicant exposures and associated health risks compared to smoking

cigarettes.” FDA-BIDI-003359-60. In particular, the aerosol testing

demonstrated substantial reductions in the majority of constituents found in

the BIDI® Stick Classic when compared to combustible cigarette smoke, with

most reduction percentages reaching close to 100% for both cancer and non-

cancer (respiratory, cardiovascular, reproductive, and developmental) hazards.

FDA-BIDI-003367-83.

      And the overall number of HPHCs detected in the BIDI® Stick Classic’s

aerosol was far lower than those which would typically be found in cigarette

smoke given that ENDS devices do not burn or combust tobacco leaf or other

materials (e.g., paper, filler) that result in hazardous constituents, like

polycyclic aromatic hydrocarbons (“PAHs”). FDA-BIDI-003376-77. For that

additional reason, “switching from combusted cigarettes to the BIDI® Stick

Classic is likely to also result in substantial reductions in PAH exposures and

associated health risks compared to continued smoking.” FDA-BIDI-003377.

      Second, Bidi conducted non-clinical in vitro studies for cytotoxicity (i.e.,

cell death) and a battery of in vitro genotoxicity (i.e., cancer endpoint) studies


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using aerosols generated from the BIDI® Stick Classic under non-intense and

intense puffing conditions, and measured against toxicological endpoints in

combustible cigarettes and comparable ENDS products. FDA-BIDI-003396-

003416. The data showed that the BIDI® Stick Classic: (i) was “substantially

less cytotoxic” compared to cigarette smoke and similar to aerosols from other

ENDS products (FDA-BIDI-003396-97; (ii) was “negative” at all doses tested

for mutagenicity (i.e., cancer endpoint) in one assay, while the comparator

cigarette product was “positive” (FDA-BIDI-003399-003400; and (iii) was

“equivocal” for genotoxicity under non-intense puffing conditions in another

assay (which was similar to ENDS comparators), whereas the comparable

combustible cigarette was “positive.” FDA-BIDI-003401. Although another

assay revealed a “positive” result for genotoxicity under intense puffing, that

also held true for combustible cigarette and ENDS comparators. FDA-BIDI-

003403. Therefore, the in vitro studies demonstrated that, even if there is

information or data missing regarding specific HPHCs or other constituents (as

is alleged by FDA in the MDO), the BIDI® Stick Classic presents an overall

lower risk profile than combustible cigarettes and is no less risky than

comparable ENDS.

      Third, Bidi conducted an “extractables” study. Specifically, Bidi used

various solvents (e.g,. Isopropanol) to assess the potential for constituents to


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leach from device parts coming into contact with the e-liquid and aerosol, as

well as artificial saliva to detect leachables from the device’s mouthpiece that

may result from exposure to a user’s mouth or saliva. FDA-BIDI-003417-25.

These tests employed multiple analysis methods, including Gas

Chromatography-Mass Spectrometry (“GC-MS”), Liquid Chromatography-

Mass Spectrometry (“LC-MS”), Inductive Coupled Plasma Mass Spectrometry

(“ICP-MS”), and Headspace Gas Chromatography-Mass Spectrometry (“HS-

GC-MS”). FDA-BIDI-003422-23. Bidi evaluated for volatile (“VOC”) and

semi-volatile (“SVOC”) compounds, non-volatile compounds (NVOCs),

metals, and residual solvents. FDA-BIDI-003424. The solvent-based tests on

device parts represented an aggressive approach to maximize potential

compound extraction, and thus may have revealed a broader range of

leachables than would be seen under real-world conditions. The artificial

saliva was designed to simulate more realistic exposures when a user comes

into contact with the mouthpiece. FDA-BIDI-003424-25. As to the latter, the

testing results suggested “that the risk of significant leachables reaching the

user during real-world usage is low.” Id.

      Fourth, in response to the deficiency letter, Bidi conducted a

comprehensive risk assessment that evaluated multiple lines of evidence,

including the HPHC aerosol and in vitro testing summarized above, as well as


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an e-liquid ingredient assessment and an analysis of potential thermal

degradation products and leachables in the BIDI® Stick Classic aerosol. FDA-

BIDI-003426-37. This risk assessment concluded:

      This evaluation demonstrated that ingredients and leachables
      present a lower toxicological concern than combustible cigarettes.
      The potential hazards identified for compounds in the non-targted
      analysis of the aerosol generated from BIDI® Stick Classic, which
      comprises less than 0.1% of the aerosol are balanced by the
      significant reduction (up to 100%) of the targeted HPHCs
      comparted to combustible cigarette smoke. Furthermore, thermal
      degradant HPHCs that are released in the aerosol do not present a
      significant toxicological concern under typical use or heavy use
      scenarios. Lastly, aerosol hazard identification comparisons for
      the BIDI® Stick Classic (i.e., product as a whole) was also
      evaluated in vitro studies of aerosols generated from BIDI® Stick
      Classic, which demonstrate fewer comparative identified hazards
      relative to cigarette smoke.

FDA-BIDI-003435.

      In the final analysis, Bidi’s assessment of the “potential toxicological

concern of ingredients and leachables in the aerosol of BIDI® Stick Classic

provide[] sufficient evidence” to conclude that the product is APPH. Id.

      Yet, astonishingly, FDA never considered the full import of this

additional information as, by FDA’s own admission, it did not conduct a cycle

2 toxicology review. In doing so, FDA violated the TCA, as well as its own

PMTA regulations and guidance, by failing to consider all evidence contained

in a PMTA and amendments through a multi-disciplinary, balancing approach

when making its APPH determination. Supra at 4-10. FDA further ran afoul

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of the APA and this Court’s decision in Bidi I when it did not assess

toxicological testing results and a risk assessment, all demonstrating the BIDI®

Stick Classic is far less risky than combustible cigarettes (and no more risky

than comparable ENDS products). And FDA, as discussed below, overlooked

the teachings of Fontem, never weighing each alleged deficiency against these

reported benefits to addicted smokers. Supra at 21-27.

      FDA admits in the TPL that, without a cycle 2 toxicological review, it

could not form any conclusions regarding the toxicant exposure to BIDI®

Stick Classic users and that it did not, in fact, base its APPH finding on any

toxicological findings. But then FDA blindly moved ahead and issued the

MDO. This constitutes a wholesale failure on FDA’s part to consider patently

relevant evidence. Accordingly, the MDO is arbitrary and capricious, as well

as unlawful, and must be vacated on this fact alone.

   III.   Deficiency One

      FDA requested data showing whether HPHC levels in the BIDI® Stick

Classic’s pose greater or lower risk than comparable ENDS products. FDA-

BIDI-000047-48. Bidi selected comparator tobacco-flavored ENDS products

that were either the subject of peer-reviewed and published studies, or part of

government-funded studies, which all reported HPHC levels for those




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products.9 This also included HPHC levels for a standardized research

electronic cigarette (“SREC”) product that was developed by NJOY, Inc., an

ENDS manufacturer, and the National Institute on Drug Abuse (“NIDA”), a

federal scientific research body that comprises, in part, the National Institutes

of Health, and is a component of the U.S. Department of Health and Human

Services (“HHS”) (as is FDA). FDA-BIDI-000047; FDA-BIDI-003440.

      In the MDO, FDA argued the published HPHC aerosol data lacked

certain information (such as puffing regimens) or used different aerosol testing

parameters than those used by Bidi for testing its own product, and thus could

not be used to compare against HPHC levels for the BIDI® Stick Classic.

FDA-BIDI-000047-48. As a result, FDA argued that Bidi could have instead

conducted its own aerosol testing on comparable ENDS products. FDA-BIDI-

000048. FDA maintained that without such comparator HPHC data it could

not determine whether the BIDI® Stick Classic is APPH, thus warranting an

MDO. FDA-BIDI-000046. FDA is wrong on all counts.




9
 It is important to note that FDA provides no criteria or guidance for how
many comparator products an applicant can select to include in its PMTA.
That decision is within the discretion of the applicant.

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      A.    FDA Did Not Explain How Deficiency One Outweighs
            Demonstrated Benefits Of The BIDI® Stick Classic

      FDA failed to demonstrate how the deficiencies regarding the HPHC

comparisons outweigh the benefits of the BIDI® Stick Classic or otherwise tip

the scales in favor of an MDO. As held in Fontem, it is not sufficient for FDA

to simply rely on technical deficiencies in a PMTA, particularly those that do

not even go to the key issue of whether the subject product presents less risk

than combustible cigarettes. Supra at 22-27.

      In the Fontem matter, FDA claimed it lacked information regarding

HPHCs in the company’s products, and therefore required additional aerosol

testing before it would grant marketing approval, and argued it also needed

more information on “puffing regimens” that could impact HPHC levels.

Fontem, 82 F.4th at 1219-20. Likewise, FDA argues in Bidi’s case that it did

not have enough HPHC data to compare the BIDI® Stick Classic to other

ENDS or information on testing protocols (including puffing regimens) and, if

such information was not available in the public literature, it could not make

an APPH determination unless Bidi tested the comparators themselves using

the same protocols it used when testing the BIDI® Stick Classic. FDA-BIDI-

000047-48. In fact, FDA then imposed even more specific requirements on




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Bidi by listing numerous types of product information that must be provided

(e.g., storage conditions prior to testing). FDA-BIDI-000048.

      However, the Fontem court found that this type of deficiency, without

more, cannot independently justify an MDO. Fontem had provided evidence

that HPHC levels in its products were substantially lower than combustible

cigarettes. But FDA “did not acknowledge, must less analyze, these benefits,

nor did it suggest how the harms [of higher HPHC levels] were so risky as to

outweigh these benefits.” 82 F.4th at 1220. Similarly, FDA never conducted a

cycle 2 toxicology review of Bidi’s PMTA, nor did it consider extensive

evidence submitted by Bidi that HPHC levels in the BIDI® Stick Classic are

far lower than those found in combustible cigarettes or that, overall, Bidi’s

product presents far less health risks than smoking cigarettes (and no more

than comparable ENDS). Supra at 29-34. FDA was obligated under the TCA

to balance all of this information, much of it new, and explain why the

deficiency “was so serious to outweigh any benefits associated with [Bidi’s]

products across the population as a whole.” Id. Yet FDA did not do so.

      B.    FDA Effectively Imposed A Tobacco Product Standard
            Governing Product Testing Without Notice And Comment
            Rulemaking

      If FDA wishes to require “aerosol constituent testing,” the “testing of

tobacco products,” or “specific tests to determine puff counts,” it “may do so


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by promulgating a tobacco product standard.” Fontem, 82 F.4th at 1220

(internal quotations omitted) (citing 21 U.S.C. §387g(a)(4)). Indeed, the TCA

permits FDA to establish “provisions for the testing…of the tobacco product”

and “provisions for the measurement of the tobacco product characteristics of

the tobacco product.” 21 U.S.C. §387g(a)(4)(B)(ii)-(iii).

      In Fontem, FDA cited a lack of aerosol data and required the company to

conduct additional aerosol testing before granting marketing approval. 82

F.4th at 1219-20. FDA further argued that Fontem had failed to provide

sufficient information about the “puffing regimens used to determine toxicant

yields” under certain operating conditions. Id. at 1220 (internal quotations

omitted). But because FDA had not established tobacco product standards

governing such testing requirements through notice and comment proceedings,

it could not impose them on Fontem through an MDO without first balancing

the purported deficiencies against the product’s benefits. Id.

      The same analysis applies here. In Deficiency One, FDA argued Bidi

had to produce additional HPHC aerosol testing results for comparable ENDS

and that it was likely Bidi would have to conduct its own testing because

HPHC results in published literature were purportedly unreliable. FDA also

complained Bidi did not provide certain information regarding the HPHC

testing done on the ENDS comparators (e.g., puffing regimens), and that those


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products were tested using different puffing protocols and techniques. FDA

then listed numerous items that Bidi would be required to report for any

additional comparator testing Bidi did itself. FDA-BIDI-000047-48.

      But that is simply imposing tobacco product standards on Bidi without

meeting notice and procedural requirements of the TCA. Indeed, as shown

above, FDA never explained how these alleged deficiencies outweigh all of the

benefits associated with using the BIDI® Stick Classic, including those to

addicted adult smokers. And this stems in part from FDA’s failure to conduct

a “cycle 2” toxicology review of Bidi’s HPHC aerosol testing on the BIDI®

Stick Classic, in vitro studies, and risk assessment. Accordingly, the MDO is

unlawful as it merely rests on a discrete technical deficiency.

      C.    Deficiency One Is Arbitrary and Capricious

      Bidi concluded in its response to FDA’s deficiency letter that “[o]verall,

the comparisons of HPHCs from the BIDI® Stick Classic and other ENDS

products indicate the levels of measured constituents in aerosols of the BIDI®

Stick Classic (Table 2) are within those reported for the ENDS product

category (tobacco-flavored e-liquids).” FDA-BID-003442. Again, FDA

argued that aerosol data for comparator products that were taken from

published literature lacked certain evidence or used different aerosol testing




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parameters and thus could not be used to compare against HPHC levels in the

BIDI® Stick Classic. FDA-BIDI-000047-48. The record indicates otherwise.

      First, FDA claimed in the MDO that data for comparator JUUL

tobacco-flavored products used a different aerosol collection protocol than was

used for the BIDI® Stick Classic. Specifically, aerosol for the JUUL products

was limited to 50 machine puffs while laboratory testing on the BIDI® Stick

Classic consumed at least 90 percent of the product – i.e., more than 50 puffs.

According to FDA, the limited puff regime for the JUUL products resulted in

certain HPHCs not being found above the detection limit – i.e., raising the

question in FDA’s mind whether those HPHCs would have been detected in

some amount if the JUUL products had been tested at a higher puff count.

FDA-BIDI-000047.

      FDA never explained, however, how the difference in puff regimes could

change Bidi’s conclusion that there were no material differences in the HPHC

levels between the comparator ENDS products and the BIDI® Stick Classic.

Specifically, FDA never addressed Bidi’s common sense observation in its

response to the deficiency letter that the JUUL data based on a limited 50 puff

regime could only “underestimate” the HPHC yields, and thus by using such

data Bidi took a conservative approach. FDA-BIDI-003441. If the JUUL

devices had been subjected to a testing protocol that consumed all of the


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device’s e-liquid via a higher puff count, HPHCs not detected at the 50 puff

count may have been detected and thus the comparator product could

conceivably present additional risk. But this would only further support Bidi’s

conclusion that the BIDI® Stick Classic is no more risky than the JUUL

products (i.e., it would only further demonstrate that the BIDI® Stick Classic

presents relatively less risk). Bidi therefore took a conservative approach, but

FDA completely ignored this point.

      Second, FDA in conclusory fashion complained that the study reporting

aerosol testing results for the JUUL products “lacked method description or

protocols.” FDA-BIDI-000047. Not true. FDA never acknowledged in the

MDO or TPL the detailed method description and information related to

method validation provided in the cited publication – Targeted Characterization

of the Chemical Composition of JUUL Systems Aerosol and Comparison with 3R4F

Reference Cigarettes and IQOS Heat Sticks (Chen et al. 2021) – in both the

methods section and supplemental tables. FDA-BIDI-01722-1738.

      For example, Chen et al. states that, “Both Labstat International ULC

and Enthalpy Analytical were International Organization for Standardization

(ISO) 17025 accredited at the time of this study. All analytical methods were

validated for the analysis of ENDS aerosol according to ICH guidance Q2 (R1)

with the exception of gold and carbon monoxide [39]. Method validations


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included an assessment of accuracy, precision, repeatability, intermediate

precision, specificity, detection limit, quantitation limit, linearity, and recovery

from the trapping systems. All method validations were reviewed by an

independent accreditation body as part of the ISO 17025 accreditation

process.” FDA-BIDI-001724. Further, Chen et al., in its Supplementary

Methods Tables available online, provide information on “Method of

Capture”, “Analysis Method”, “Instrument”, “Method Reference Code”, and

“ISO17025 Status”, the “Method level of detection (LOD), and level of

quantitation (LOQ).”10 But FDA never explained, or even mentioned, in the

MDO or TPL how this information was insufficient.

      Third, as to other comparable ENDS products (i.e., Apollo Classic

Tobacco, BLU Classic Tobacco, Ever Smoke Classic Tobacco, and South

Beach Smoke Classic Tobacco), FDA generally claimed the “aerosol

constituents were collected using different puffing regimens, puffing life cycle,

and puffing machine than the [BIDI® Stick Classic] aerosol study, and thus

cannot be reliably and consistently compared to the aerosol yield data for the

[BIDI® Stick Classic].” FDA-BIDI-000047. FDA also stated that Bidi should




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  These tables can be found at
https://www.mdpi.com/article/10.3390/separations8100168/s1.

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have provided data from published literature using similar puffing life cycle,

puffing regimens, and puffing machines. FDA-BIDI-000048.

      Again, FDA disregarded relevant information and comments in Bidi’s

response to FDA’s deficiency letter. For these products, Bidi relied on aerosol

HPHC data provided in the El-Hellani et al. (2018) study, Nicotine and Carbonyl

Emissions From Popular Electronic Cigarette Products: Correlation to Liquid

Composition and Design Characteristics, which was funded by FDA’s Center for

Tobacco Products (“CTP”) and HHS’s NIDA. FDA-BIDI-001820-1828. In

its deficiency response, Bidi explained that “[a]erosol collection in…El-Hellani

et al. (2018) was conducted using a slightly modified non-intense puffing

regimen (1.5 L/min puff velocity, 4s puff duration and 10s duration), and the

HPHC yields were measured from a 15-puff session. Since the difference in

the puff duration between the study by El-Hellani et al. (4 second puff) and the

standard ISO non-intense puffing (3 second puff) is minimal (1 second) [used

to collect BIDI® Stick Classic data], the difference in puffing topography is not

likely to have a measurable impact on the aerosol chemistry, and thus does not

preclude the use of this study to inform the comparison of HPHC yields

measured in the BIDI® Stick Classic relative to the ENDS products in the

study by El-Hellani et al. (2018).” FDA-BIDI-003441.




                                         43
      However, nowhere in the MDO or TPL did FDA explain why the testing

protocols and results for the comparator products cited by Bidi prevented a

comparison of aerosol HPHC levels with the BIDI® Stick Classic. In fact, the

minor difference in puffing conditions (1 second) for the products tested by El-

Hellani et al. (2018) and the BIDI® Stick Classic is immaterial. FDA did not

provide a rationale for how this could change Bidi’s conclusion that there were

no material differences in the HPHC levels between the comparator ENDS

products and the BIDI® Stick Classic.

      Also worrisome is the fact that the MDO and TPL never addressed

Bidi’s scientific justification provided in its deficiency letter response that the

HPHC yields for the product aerosols evaluated by El-Hellani et al. were

underestimated because they were based on a 15-puff session, whereas the

BIDI® Stick Classic data were based on puffing the entire product (over 200

puffs). FDA-BIDI-003441. Thus, like the JUUL ENDS data described above,

use of the aerosol chemistry data reported by El-Hellani et al., a study funded

by FDA’s own CTP and HHS’s NIDA no less, provided a conservative

approach for comparing potential health risks from the BIDI® Stick Classic

relative to ENDS comparator products, a point FDA completely overlooked.

      Fourth, the MDO complained as to the SREC ENDS product that Bidi

did not furnish certain information about the HPHC testing results, such as


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analytical method protocols, the name of the testing laboratory and

accreditation, or puffing regimens or counts. FDA-BIDI-000047; see Fontem,

82 F.4th at 1220-21 (rejecting such grounds, including allegedly missing

laboratory information, as justifying an MDO). As pointed out by Bidi in its

deficiency letter response, the SREC product was developed by the federal

government, with NIDA (an arm of HHS) actually publishing the aerosol

chemistry data. FDA-BIDI-003440. Moreover, the HPHC data on the SREC

were collected using the same standardized, non-intense puffing conditions

used for the BIDI® Stick Classic, a point never addressed by FDA. Id. Thus,

it was entirely reasonable for Bidi to conclude that the SREC data were reliable

and appropriate for purposes of comparison. Id. It strains all credulity for

FDA to now claim it cannot “determine that the test data are accurate and

reliable as comparative data,” FDA-BIDI-000047-48, data which were

generated and published by a sister HHS health agency.

      Fifth, the MDO argued that “[f]or all comparison ENDS data, [Bidi] did

not provide analytical method validation information.” FDA-BIDI-000048.

As Bidi observed in its deficiency response, however, full validation reports are

not included in published literature or government databases. FDA-BIDI-

003438. Indeed, full validation reports for analytical methods are in fact a

laboratory’s proprietary information that would not be publicly reported. The


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deficiency letter also demanded additional information regarding comparables

that would not be available to third parties, such as the “length of time

between date(s) of manufacture and date(s) of testing.” Id. Thus, by

demanding such information, FDA “has forclosed [Bidi’s] opportunity from

choosing to use scientific literature in lieu of conducting additional and costly

studies” to provide comparable ENDS data. Id. This, despite the fact the

PMTA Guidance encourages applicants to rely on “data from the published

literature or government-sponsored databases.” FDA-BIDI-003443. Yet,

despite Bidi’s comments, FDA never addressed these issues.

      Lastly, FDA treated Bidi differently than other manufacturers. For

instance, FDA allowed NJOY to use published literature as a source of aerosol

data for ENDS comparator products when granting marketing authorization

for NJOY’s tobacco-flavored ENDS product. FDA-BIDI-003344. But FDA

never explained why it is now effectively foreclosing the use of published

literature when such an approach was previously accepted as to NJOY.

      In short, FDA repeatedly ignored evidence and comments submitted by

Bidi in the record, and otherwise treated Bidi differently than other similarly

situated manufactures. The MDO must be vacated as to Deficiency One.




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   IV.     Deficiency Two

      FDA requested that Bidi conduct tests for potentially hazardous

substances (e.g., metals) that may leach from the device and its hardware

components into the enclosed, pre-filled e-liquid. FDA-BIDI- 000049. Bidi

instead analyzed aerosol from the BIDI® Stick Classic, not the e-liquid itself,

for leachable substances and explained in its deficiency response that this

approach would better assess risks to consumers – i.e., it is the aerosol that

users are ultimately exposed to during product use, not the enclosed e-liquid.

If compounds that leach into the e-liquid do not transfer to aerosol, there is no

risk to the user. FDA-BIDI-003445. FDA did not dispute this approach.

      In the MDO, however, FDA argued that Bidi used a detection method

(i.e., GC-MS) that only captures VOCs and some SVOCs, but would not

identify additional SVOCs, NVOCs, and thermally labile compounds in the

aerosol. FDA stated that Bidi, to fully characterize all potential leachables,

should have used additional MS-based techniques and, in the deficiency letter,

required the following: HS-GC-MS, ICP-MS, and LC-MS. FDA-BIDI-

003419. FDA’s rationale once again falls short.

      A.     FDA Failed To Explain How Deficiency Two Outweighs
             Proven Benefits Of The BIDI® Stick Classic

      Nowhere in the MDO or TPL did FDA justify how this technical

deficiency somehow outweighs evidence of the BIDI® Stick Classic’s

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significant benefits as presented in Bidi’s deficiency response. In Fontem, FDA

faulted the company for not providing information regarding the safety of the

product, and in particular data on levels of harmful chemicals or toxicants

produced under certain operating conditions. 82 F.4th at 1220. But FDA did

not consider the reduced risk profile that Fontem’s product offered over

combustible cigarettes or explain how the harms presented by any additional

substances were serious enough to outweigh those benefits. Id.

      So too as to Bidi. FDA could not have balanced the additional aerosol

and in vitro data, or the overall risk assessment, submitted in Bidi’s deficiency

letter response against the technical shortcomings alleged in the MDO because

it never did a cycle 2 toxicology review. Indeed, there is no indication in the

MDO or TPL that the favorable risk profile of the BIDI® Stick Classic was

considered in the context of purportedly missing leachable data. And as

discussed below, this also holds true as to the extractables study conducted by

Bidi which employed all of the additional MS-based methods requested by

FDA and was designed to detect leachables from the device as well as

components coming into contact with the user. Supra at 31-32. Under the

TCA, FDA was obligated to do more.




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      B.    FDA Essentially Adopted A Tobacco Product Standard For
            Leachability Studies Without Notice And Comment
            Rulemaking

      In the deficiency letter, FDA ordered Bidi (i.e., “provide the

following…”) to assess potential leachables using MS-based detection methods

in addition to GC-MS, including HS-GC-MS, ICP-MS, and LC-MS. FDA-

BIDI-003419. But this is nothing more than a tobacco product standard as it

establishes “provisions for the testing…of the tobacco product” and

“provisions for the measurement of the tobacco product characteristics of the

tobacco product.” 21 U.S.C. §387g(a)(4)(B)(ii)-(iii). As FDA did not adopt

these requirements through notice and comment rulemaking or otherwise

consider allegedly missing leachables data as part of a public health balancing,

this deficiency was unlawful. See Fontem, 82 F.4th at 1220.

      C.    Deficiency Two Is Arbitrary And Capricious

      As noted, FDA criticized Bidi for conducting a leachability study on the

BIDI® Stick Classic’s aerosol using the GC-MS method, which would only

detect VOCs and some SVOCs. FDA argued that Bidi should have also used

other MS-based techniques to identify additional leachables. FDA-BIDI-

00049. However, FDA did not factor in its evaluation all studies provided by

Bidi to capture compounds that may leach into e-liquid and transfer to the

aerosol. Specifically, FDA did not conduct a cycle 2 toxicological analysis of


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the extractables study. This was carried-out using harsh solvents to assess the

maximum number of chemicals that could leach into the e-liquid and aerosol,

thus constituting a conservative, worst-case approach. Bidi then employed

additional MS-based methods requested by FDA, including LC-MS, ICP-MS,

and HS-GC-MS, to detect those compounds. FDA-BIDI-003419.

      But FDA never evaluated the study results to determine whether any

additional leachable compounds had been detected and were of toxicological

concern. And this raises serious questions as FDA’s chemists concluded the

“analytical results from the extractable study are reliable and acceptable from a

chemistry perspective” – i.e., it is likely that the extractables study would have

identified any remaining potential leachable compounds. FDA-BIDI-000805.

In fact, FDA’s chemists recommended that FDA’s toxicologists evaluate the

extractables data, but that was never done. Id. Therefore, FDA’s claims of

missing information regarding leachables rings completely hollow. Nor did

FDA discuss Bidi’s conclusion that testing using artificial saliva showed the

risk of leachables from the device’s mouthpiece under real-world conditions is

low. FDA-BIDI-003425.

      Further, even on the off-chance that Bidi’s aerosol leachability and

extractable studies, when taken together, somehow missed a number of

potential leachable compounds, FDA never explained how that could ever


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independently justify issuing an MDO. Indeed, as discussed above, all lines of

evidence gathered by Bidi in response to the deficiency letter point

overwhelmingly to the conclusion that the BIDI® Stick Classic presents an

overall low risk profile. And this includes the in vitro studies which

demonstrates that even in the absence of a complete characterization of

substances found in the BIDI® Stick Classic’s aerosol, the product presents

much less risk than combustible cigarettes. If any discrete toxicological data

points might have been missing, that must be evaluated in the context of the

critical mass of favorable toxicological data provided by Bidi in response to the

deficiency letter – which FDA concedes it did not do.

   V.     Deficiency Three

        FDA concluded in the MDO that “[d]ue to the high abuse liability of the

new product, tobacco users are likely to maintain or augment their nicotine

dependence and addiction with use of the new product; and tobacco nonusers

(including youth) who initiate use of the new product are likely to continue

using it and develop nicotine addiction and dependence.” FDA-BIDI-000050.

FDA claimed “the totality of the evidence demonstrates that the abuse liability

of the new product is similar or higher than” a typical combustible cigarette

based on nicotine exposures measured in the BIDI® Stick Classic. FDA-BIDI-




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000049-50 (emphasis added). Deficiency Three is arbitrary and capricious,

and otherwise fails on multiple grounds.

      A.    FDA Entirely Reversed Its Prior Policy As Applied To Other
            Manufacturers And Products, Without Explanation, Regarding
            The Need For A Comparable Level Of Abuse Liability In ENDS
            And Combustible Cigarettes

      FDA has long recognized that an ENDS product must have an abuse

liability (i.e., potential for addiction) comparable to combustible cigarettes for

smokers to partially or completely switch to less risky tobacco products. See,

e.g., FDA 2020 Enforcement Guidance (“for many individual addicted

cigarette smokers, the potential for ENDS to act as a substitute for cigarettes,

thereby encouraging smokers to seek to switch completely away from

combustible cigarettes, may be dependent, in part, upon the product having

acceptability and abuse liability more comparable to a cigarette.”). FDA-

BIDI-001858. As Bidi’s deficiency response noted in the context of tobacco

harm reduction (“THR”):

      THR relies on the fundamental principle that the harms associated
      with cigarette smoking, at both the individual and population
      levels, can be reduced by providing adult smokers with alternatives
      to cigarettes which deliver a satisfying nicotine level but with
      lower levels of harmful chemicals found in cigarette smoke.
      Acceptability of novel tobacco and nicotine products to adult
      smokers is an important driver of the likelihood that a given
      product will support smokers in transitioning away from cigarette
      smoking…[I]t is generally considered that more cigarette-like
      nicotine delivery is important to the uptake of novel tobacco
      products such as ENDS, their continued use, and prevention of

                                        52
      relapse back to cigarette smoking…Therefore, the comparable
      dependence of cigarettes and the BIDI® Stick Classic supports the
      notion that this product can assist smokers’ switching and
      contribute to reductions in the individual- and population-level
      harms associated with cigarette smoking.

FDA-BIDI-003446. The TPL itself acknowledged that “if a new product has a

low abuse liability, individuals who are currently dependent on nicotine may

find it to be an inadequate substitute for the product they are currently using.”

FDA-BIDI-000812; see FDA, Memorandum, Normalization of HPHC yields

between new and comparison products in ENDS PMTAs (Sept. 9, 2020) (“tobacco

product users tend to have an optimal level of nicotine that provides sufficient

user satisfaction and avoids symptoms of withdrawal.”). FDA-BIDI-003309.

      Indeed, as Bidi observed in its deficiency response letter, FDA explicitly

recognized this principle when recently granting marketing approval for a

tobacco-flavored tobacco product manufactured by NJOY and a heat-not-burn

tobacco-flavored product called IQOS. FDA noted both have similar abuse

liability to combustible cigarettes which would facilitate switching. The

products were approved even though FDA found that they would nevertheless

continue to sustain addiction in smokers and non-users alike. FDA-BIDI-

003447-48 (“This is potentially beneficial for smokers trying to switch to IQOS

as they are more likely to have satisfactory results and not resume…smoking.

The nicotine levels do pose an addiction risk for non-tobacco users who initiate


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use of these products; however, the risk is no higher than for other, currently

available, tobacco products and initiation is expected to be low generally.”)

(As NJOY testing “shows an abuse liability approaching that of combusted

cigarettes, there is support for a potential benefit of smokers trying to switch to

the new products…[T]he inherent risk of addiction of the new products appear

to be no higher than other currently available tobacco products…[T]he abuse

liability of the new products is likely sufficient to sustain dependence in already

nicotine-dependent populations.”).

      But in Bidi’s MDO, FDA asserted that an ENDS product can no longer

result in continued abuse liability and still be granted marketing approval.

FDA will likely respond that, unlike the NJOY and IQOS products, the

BIDI® Stick Classic has a higher abuse liability, at least in certain

circumstances, than combustible cigarettes and is thus not APPH. FDA-BIDI-

000049-50.11 But that is irrelevant to the MDO’s conclusion. Rather, the mere

fact that smokers will “maintain or augment their nicotine dependance and

addiction” is now determinative. Id. (emphasis added). In FDA’s mind, the

relative abuse liability is irrelevant; it matters not whether an ENDS product




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  FDA conceded in the MDO that Bidi’s evidence demonstrated a similar
abuse liability to combustible cigarettes under controlled testing conditions.
FDA-BIDI-000049.

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has a similar or higher abuse liability; any level of continued abuse liability will

result in a no APPH finding. Indeed, the MDO concludes “the totality of

evidence demonstrates that the abuse liability of the new product is similar to or

higher than” a combustible cigarette. FDA-BIDI-000049 (emphasis added).

      If FDA intends to reverse its policy, it must explicitly acknowledge the

change and explain its decision. Dep’t of Homeland Security v. Regents of the Univ.

of Cal., 140 S.Ct. 1891, 1912 (2020). Yet nowhere in the MDO or TPL did

FDA explicitly recognize its about-face or justify its position that ENDS

products cannot lead to continued abuse liability. Moreover, this is particularly

concerning as FDA treated Bidi in an entirely different fashion than it did the

NJOY and IQOS tobacco-flavored products. Indeed, it is difficult to overstate

the sea change under Deficiency Three to FDA’s prior approach. Now, as

FDA claims that Deficiency Three is an independent ground for issuing an

MDO, it appears FDA, going forward, will not grant marketing authorization

to any tobacco-flavored ENDS if it has any continuing addictive potential, even

if that means smokers will not move away to a less dangerous product.

      B.    FDA Did Not Explain How Deficiency Three Outweighs The
            BIDI® Stick Classic’s Benefits As A Lower Risk Alternative

      Even if the BIDI® Stick Classic is associated with a higher risk of abuse

liability, FDA must evaluate that in the context of any evidence demonstrating

that continued use of the ENDS product will result in reduced harm relative to

                                        55
combustible cigarettes. Fontem, 82 F.4th at 1219-20. However, as with the

other two deficiencies, FDA never conducted a cycle 2 analysis and therefore

never weighed the substantial information submitted by Bidi in response to

FDA’s deficiency letter (e.g., HPHC testing, in vitro studies, the “extractables”

study, and risk assessment) showing the BIDI® Stick Classic has a much more

favorable risk profile than traditional cigarettes and is APPH. Indeed, as Bidi

pointed out in its response, FDA-BIDI-003446, one of the driving imperatives

under tobacco harm reduction is to encourage smokers to continue satisfying

their need for nicotine by using less risky products. Yet FDA never weighed

all of the relevant evidence or Bidi’s comments.

      C.    The MDO Contradicted Multiple TPL Statements, Including
            Evidence Submitted By Bidi And Credited By FDA, That
            Nonusers And Youth Are Unlikely To Use The BIDI® Stick
            Classic

      The MDO concluded that the BIDI® Stick Classic’s alleged high abuse

liability will mean that any non-user of tobacco products (e.g., non-smokers)

and youth who try the product will likely continue using it. FDA-BIDI-

000050. But what the MDO did not say is that non-users and youth will

actually use the BIDI® Stick Classic. And it could not. FDA stated

throughout the TPL that evidence submitted by Bidi, as well as the public

scientific literature review in the PMTA, demonstrated that both non-users and

youth are unlikely to initiate use of the BIDI® Stick Classic.

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      Significantly, FDA stated in the TPL that manufacturers have a lower

burden in showing benefits to smokers for tobacco-flavored (as opposed to

non-tobacco flavored products) because, in part, youth do not like tobacco-

flavored products. FDA-BIDI-000791-92 (“As the known risks of the product

increase or decrease, the burden of demonstrating a substantial enough benefit

[to adult smokers] likewise increases or decreases.”); (“For tobacco-flavored

ENDS the risk to youth is lower compared to flavored ENDS; accordingly, a

lessor showing of benefit may suffice.”); (“In contrast to flavored ENDS, the

risk of youth initiation and use with tobacco-flavored ENDS is lower.”); see

2020 FDA Enforcement Guidance (“Data shows that tobacco- and menthol-

flavored ENDS products are not as appealing to minors as other flavored

ENDS products.”). FDA-BIDI-001877.

      Moreover, as to both nonusers and youth, the TPL concluded that those

population groups will not likely use the BIDI® Stick Classic. See, e.g., FDA-

BIDI-000828 (“Overall, as TPL, I agree with the social science and

epidemiology reviews that given the tobacco flavor of the new product, it is

expected that youth are unlikely to use the new product and the appeal for the

new product would be limited.”) (“[P]ublished data generally suggests that

tobacco-flavored ENDS have limited appeal for youth.”) (Bidi’s “Population

Prevalence study showed that prevalence of use [among youth] was low


                                       57
overall.”); (citing Bidi’s Population Prevalence study, Perceptions and

Behavioral Intentions (“PBI”) study, and BIDI® Stick Likelihood of Use

(“LOU”) study when concluding, “Considering the overall low appeal and use

pattern per the applicant-submitted data and low rate of ENDS use among

adult tobacco non-users per published literature review..., as TPL, I agree with

the social science and epidemiology reviews, that it is expected that adult

tobacco nonusers are unlikely to use the new product.”).

      Yet, despite FDA’s own conclusions, the TPL goes on to state, without

any support, that use of the new product by nonusers and youth “may shift

depending on the availability of other products on the market.” FDA-BIDI-

000828. This is pure speculation on FDA’s part and is wholly contradicted by

extensive evidence, submitted by Bidi and in the public scientific literature, as

well as credited by FDA in the TPL, that these population groups do not like

tobacco-flavored products and will not initiate use. Accordingly, on this point,

the MDO is not supported by substantial evidence; in fact, it is the very

definition of arbitrary and capricious decision-making.12


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  There is also no indication that FDA considered the fact that it requires
robust post-marketing surveillance for any product granted marketing
authorization so that FDA may determine whether it should temporarily
suspend or withdraw the approval because the product is no longer APPH. See
21 C.F.R. §1114.41; 21 U.S.C. §387j(d). FDA failed to consider this option
instead of speculating about future use by nonusers or youth.

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      D.    FDA Failed To Weigh Evidence On Switching In The Context
            Of Other Benefits To Smokers And A Low Risk To Nonusers
            And Youth

      In the TPL, but not the MDO, FDA claimed that studies submitted by

Bidi were “inconclusive” as to whether the BIDI® Stick Classic would help

smokers switch. FDA-BIDI-000827. At the same time, however, FDA

conceded the product’s abuse liability “may increase the likelihood of this

already addicted population switching from [combustible cigarettes) to the new

product and reducing or eliminating their [combustible cigarette] use.” FDA-

BIDI-000815; see FDA-BIDI-000814 (TPL concluding the “subjective effects

results demonstrated that the new product was liked by adults who use

[combustible cigarettes]”); FDA-BIDI-000817 (FDA’s epidemiologists stating,

“The data submitted by the applicant provide limited evidence that adult

tobacco products users will switch to the new product.”).

      In any event, as discussed above, FDA admitted that Bidi has a lower

burden here to show benefits to smokers because the BIDI® Stick Classic is

tobacco-flavored and does not present the same risks to youth as non-tobacco

flavored products. Indeed, when granting marketing authorization for the

IQOS, FDA noted that “initiation [of product use] is expected to be low

generally,” thus clearly indicating that Bidi’s purportedly “inconclusive” data

on switching has limited relevance. FDA-BIDI-003447. More importantly, in


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the context of this reduced burden, FDA was required to weigh its

observations regarding evidence of switching against both the substantially

reduced health risks presented by the BIDI® Stick Classic and the fact that

nonusers and youth are unlikely to begin using the product. But FDA,

particularly in the absence of a cycle 2 review, failed to meet this obligation.

This is not balancing evidence on both sides of the ledger; rather, it is placing a

thumb on one side of the scale to the detriment of addicted adult smokers.

      E.    FDA Imposed Tobacco Product Standards For Nicotine Content
            And Abuse Liability Without Notice And Comment
            Rulemaking

      Under the TCA, FDA may establish a tobacco product standard

governing: (i) limits on “nicotine yields”; (ii) requirements for the

“reduction…of other constituents, including smoke constituents, or harmful

components of the product”; or (iii) “provisions respecting the…ingredients,

additives, constituents, including smoke constituents, and properties of the

tobacco product.” 21 U.S.C. §387g(a)(4). As discussed above, however, FDA

is now requiring that ENDS products have less nicotine than combustible

cigarettes to be granted marketing authorization – i.e., FDA is directly

regulating through the MDO the maximum levels of nicotine in ENDS

products. Moreover, FDA has established a requirement that an ENDS

product cannot promote continued addiction. As FDA did not adopt these


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limitations through notice and comment rulemaking, or any of the additional

requirements necessary to promulgate a standard, Deficiency Three is

unlawful. See Fontem, 82 F.4th at 1218-19 (noting limits on “nicotine yield”

are covered by the provision governing tobacco product standards).

                               CONCLUSION

      This Court should grant Bidi’s Petition for Review, and vacate and

remand the MDO for further agency proceedings.



Dated: April 15, 2024

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                    CERTIFICATE OF COMPLIANCE

      I hereby certify the foregoing complies with the length limitations of

Federal Rule of Appellate Procedure (“Rule”) 27(d)(2)(A) because it is 12,715

words, excluding the parts that are exempted under Rule 32(f) and 11th Cir. R.

32-4. It complies with the typeface and type-style requirements of Rule 32(a)(5)

and Rule 32(a)(6) because it is printed in 14-point Calisto MT font.



                                            /s Eric P. Gotting
                                            Eric P. Gotting




                                       62
                         CERTIFICATE OF SERVICE

      I hereby certify that on April 15, 2024, a true and correct copy of the

foregoing was filed via the Court’s CM/ECF system and served via electronic

filing upon all counsel of record in this case.



                                              /s Eric P. Gotting
                                              Eric P. Gotting




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ADDENDUM
Page 631                           TITLE 21—FOOD AND DRUGS                                                § 387j

establish and maintain such records, make such              (B) to remedy a violation of this sub-
reports, and provide such information, as the             chapter caused by the tobacco product which
Secretary may by regulation reasonably require            may present a risk to health.
to assure that such tobacco product is not adul-
                                                        A tobacco product manufacturer or importer
terated or misbranded and to otherwise protect
public health. Regulations prescribed under the         of a tobacco product who undertakes a correc-
preceding sentence—                                     tive action or removal from the market of a
    (1) may require a tobacco product manufac-          tobacco product which is not required to be re-
  turer or importer to report to the Secretary          ported under this subsection shall keep a
  whenever the manufacturer or importer re-             record of such correction or removal.
  ceives or otherwise becomes aware of informa-         (2) Exception
  tion that reasonably suggests that one of its           No report of the corrective action or re-
  marketed tobacco products may have caused             moval of a tobacco product may be required
  or contributed to a serious unexpected adverse        under paragraph (1) if a report of the correc-
  experience associated with the use of the prod-       tive action or removal is required and has
  uct or any significant increase in the fre-           been submitted under subsection (a).
  quency of a serious, expected adverse product
  experience;                                         (June 25, 1938, ch. 675, § 909, as added Pub. L.
    (2) shall require reporting of other signifi-     111–31, div. A, title I, § 101(b)(3), June 22, 2009, 123
  cant adverse tobacco product experiences as         Stat. 1805.)
  determined by the Secretary to be necessary
  to be reported;                                                          Editorial Notes
    (3) shall not impose requirements unduly                              PRIOR PROVISIONS
  burdensome to a tobacco product manufac-
  turer or importer, taking into account the            A prior section 909 of act June 25, 1938, was renum-
  cost of complying with such requirements and        bered section 1009 and is classified to section 399 of this
                                                      title.
  the need for the protection of the public
  health and the implementation of this sub-          § 387j. Application for review of certain tobacco
  chapter;                                                products
    (4) when prescribing the procedure for mak-
  ing requests for reports or information, shall      (a) In general
  require that each request made under such             (1) New tobacco product defined
  regulations for submission of a report or infor-         For purposes of this section the term ‘‘new
  mation to the Secretary state the reason or           tobacco product’’ means—
  purpose for such request and identify to the
                                                             (A) any tobacco product (including those
  fullest extent practicable such report or infor-
                                                           products in test markets) that was not com-
  mation;
    (5) when requiring submission of a report or           mercially marketed in the United States as
  information to the Secretary, shall state the            of February 15, 2007; or
  reason or purpose for the submission of such               (B) any modification (including a change
  report or information and identify to the full-          in design, any component, any part, or any
  est extent practicable such report or informa-           constituent, including a smoke constituent,
  tion; and                                                or in the content, delivery or form of nico-
    (6) may not require that the identity of any           tine, or any other additive or ingredient) of
  patient or user be disclosed in records, reports,        a tobacco product where the modified prod-
  or information required under this subsection            uct was commercially marketed in the
  unless required for the medical welfare of an            United States after February 15, 2007.
  individual, to determine risks to public health       (2) Premarket review required
  of a tobacco product, or to verify a record, re-         (A) New products
  port, or information submitted under this sub-
  chapter.                                                  An order under subsection (c)(1)(A)(i) for a
                                                          new tobacco product is required unless—
In prescribing regulations under this subsection,             (i) the manufacturer has submitted a re-
the Secretary shall have due regard for the pro-            port under section 387e(j) of this title; and
fessional ethics of the medical profession and              the Secretary has issued an order that the
the interests of patients. The prohibitions of              tobacco product—
paragraph (6) continue to apply to records, re-                  (I) is substantially equivalent to a to-
ports, and information concerning any indi-                   bacco product commercially marketed
vidual who has been a patient, irrespective of                (other than for test marketing) in the
whether or when he ceases to be a patient.                    United States as of February 15, 2007;
(b) Reports of removals and corrections                       and
  (1) In general                                                 (II) is in compliance with the require-
    Except as provided in paragraph (2), the Sec-             ments of this chapter; or
  retary shall by regulation require a tobacco                (ii) the tobacco product is exempt from
  product manufacturer or importer of a tobacco             the requirements of section 387e(j) of this
  product to report promptly to the Secretary               title pursuant to a regulation issued under
  any corrective action taken or removal from               section 387e(j)(3) of this title.
  the market of a tobacco product undertaken
  by such manufacturer or importer if the re-             (B) Application to certain post-February 15,
  moval or correction was undertaken—                         2007, products
       (A) to reduce a risk to health posed by the          Subparagraph (A) shall not apply to a to-
    tobacco product; or                                   bacco product—
§ 387j                                TITLE 21—FOOD AND DRUGS                                    Page 632

           (i) that was first introduced or delivered        (A) full reports of all information, pub-
         for introduction into interstate commerce         lished or known to, or which should reason-
         for commercial distribution in the United         ably be known to, the applicant, concerning
         States after February 15, 2007, and prior to      investigations which have been made to
         the date that is 21 months after June 22,         show the health risks of such tobacco prod-
         2009; and                                         uct and whether such tobacco product pre-
           (ii) for which a report was submitted           sents less risk than other tobacco products;
         under section 387e(j) of this title within          (B) a full statement of the components, in-
         such 21-month period,                             gredients, additives, and properties, and of
    except that subparagraph (A) shall apply to            the principle or principles of operation, of
    the tobacco product if the Secretary issues            such tobacco product;
    an order that the tobacco product is not sub-            (C) a full description of the methods used
    stantially equivalent.                                 in, and the facilities and controls used for,
  (3) Substantially equivalent defined                     the manufacture, processing, and, when rel-
                                                           evant, packing and installation of, such to-
    (A) In general
                                                           bacco product;
       In this section and section 387e(j) of this           (D) an identifying reference to any tobacco
    title, the term ‘‘substantially equivalent’’ or        product standard under section 387g of this
    ‘‘substantial equivalence’’ means, with re-            title which would be applicable to any as-
    spect to the tobacco product being compared            pect of such tobacco product, and either ade-
    to the predicate tobacco product, that the             quate information to show that such aspect
    Secretary by order has found that the to-              of such tobacco product fully meets such to-
    bacco product—                                         bacco product standard or adequate informa-
         (i) has the same characteristics as the           tion to justify any deviation from such
       predicate tobacco product; or                       standard;
         (ii) has different characteristics and the
                                                             (E) such samples of such tobacco product
       information submitted contains informa-
                                                           and of components thereof as the Secretary
       tion, including clinical data if deemed nec-
                                                           may reasonably require;
       essary by the Secretary, that dem-
                                                             (F) specimens of the labeling proposed to
       onstrates that it is not appropriate to reg-
                                                           be used for such tobacco product; and
       ulate the product under this section be-
                                                             (G) such other information relevant to the
       cause the product does not raise different
                                                           subject matter of the application as the Sec-
       questions of public health.
                                                           retary may require.
    (B) Characteristics
                                                         (2) Referral to Tobacco Products Scientific Ad-
       In subparagraph (A), the term ‘‘character-            visory Committee
    istics’’ means the materials, ingredients, de-
    sign, composition, heating source, or other            Upon receipt of an application meeting the
    features of a tobacco product.                       requirements set forth in paragraph (1), the
                                                         Secretary—
    (C) Limitation
                                                             (A) may, on the Secretary’s own initiative;
       A tobacco product may not be found to be            or
    substantially equivalent to a predicate to-              (B) may, upon the request of an applicant,
    bacco product that has been removed from
    the market at the initiative of the Secretary         refer such application to the Tobacco Products
    or that has been determined by a judicial             Scientific Advisory Committee for reference
    order to be misbranded or adulterated.                and for submission (within such period as the
                                                          Secretary may establish) of a report and rec-
  (4) Health information
                                                          ommendation respecting the application, to-
    (A) Summary                                           gether with all underlying data and the rea-
       As part of a submission under section              sons or basis for the recommendation.
    387e(j) of this title respecting a tobacco          (c) Action on application
    product, the person required to file a pre-
                                                          (1) Deadline
    market notification under such section shall
    provide an adequate summary of any health               (A) In general
    information related to the tobacco product                As promptly as possible, but in no event
    or state that such information will be made             later than 180 days after the receipt of an ap-
    available upon request by any person.                   plication under subsection (b), the Sec-
    (B) Required information                                retary, after considering the report and rec-
       Any summary under subparagraph (A) re-               ommendation submitted under subsection
    specting a tobacco product shall contain de-            (b)(2), shall—
    tailed information regarding data con-                      (i) issue an order that the new product
    cerning adverse health effects and shall be               may be introduced or delivered for intro-
    made available to the public by the Sec-                  duction into interstate commerce if the
    retary within 30 days of the issuance of a de-            Secretary finds that none of the grounds
    termination that such tobacco product is                  specified in paragraph (2) of this sub-
    substantially equivalent to another tobacco               section applies; or
    product.                                                    (ii) issue an order that the new product
                                                              may not be introduced or delivered for in-
(b) Application                                               troduction into interstate commerce if the
  (1) Contents                                                Secretary finds (and sets forth the basis
    An application under this section shall con-              for such finding as part of or accom-
  tain—                                                       panying such denial) that 1 or more
Page 633                          TITLE 21—FOOD AND DRUGS                                         § 387j

     grounds for denial specified in paragraph           clude 1 or more clinical investigations by ex-
     (2) of this subsection apply.                       perts qualified by training and experience to
   (B) Restrictions on sale and distribution             evaluate the tobacco product.
                                                         (B) Other evidence
     An order under subparagraph (A)(i) may
   require that the sale and distribution of the            If the Secretary determines that there ex-
   tobacco product be restricted but only to the         ists valid scientific evidence (other than evi-
   extent that the sale and distribution of a to-        dence derived from investigations described
   bacco product may be restricted under a reg-          in subparagraph (A)) which is sufficient to
   ulation under section 387f(d) of this title.          evaluate the tobacco product, the Secretary
                                                         may authorize that the determination for
 (2) Denial of application
                                                         purposes of paragraph (2)(A) be made on the
   The Secretary shall deny an application sub-          basis of such evidence.
 mitted under subsection (b) if, upon the basis      (d) Withdrawal and temporary suspension
 of the information submitted to the Secretary
                                                       (1) In general
 as part of the application and any other infor-
 mation before the Secretary with respect to             The Secretary shall, upon obtaining, where
 such tobacco product, the Secretary finds             appropriate, advice on scientific matters from
 that—                                                 the Tobacco Products Scientific Advisory
     (A) there is a lack of a showing that per-        Committee, and after due notice and oppor-
   mitting such tobacco product to be mar-             tunity for informal hearing for a tobacco prod-
   keted would be appropriate for the protec-          uct for which an order was issued under sub-
   tion of the public health;                          section (c)(1)(A)(i), issue an order withdrawing
     (B) the methods used in, or the facilities or     the order if the Secretary finds—
   controls used for, the manufacture, proc-                (A) that the continued marketing of such
   essing, or packing of such tobacco product            tobacco product no longer is appropriate for
   do not conform to the requirements of sec-            the protection of the public health;
   tion 387f(e) of this title;                              (B) that the application contained or was
     (C) based on a fair evaluation of all mate-         accompanied by an untrue statement of a
   rial facts, the proposed labeling is false or         material fact;
   misleading in any particular; or                         (C) that the applicant—
     (D) such tobacco product is not shown to                 (i) has failed to establish a system for
   conform in all respects to a tobacco product             maintaining records, or has repeatedly or
   standard in effect under section 387g of this            deliberately failed to maintain records or
   title, and there is a lack of adequate infor-            to make reports, required by an applicable
   mation to justify the deviation from such                regulation under section 387i of this title;
   standard.                                                  (ii) has refused to permit access to, or
                                                            copying or verification of, such records as
 (3) Denial information
                                                            required by section 374 of this title; or
   Any denial of an application shall, insofar as             (iii) has not complied with the require-
 the Secretary determines to be practicable, be             ments of section 387e of this title;
 accompanied by a statement informing the ap-
 plicant of the measures required to remove               (D) on the basis of new information before
 such application from deniable form (which             the Secretary with respect to such tobacco
 measures may include further research by the           product, evaluated together with the evi-
 applicant in accordance with 1 or more proto-          dence before the Secretary when the applica-
 cols prescribed by the Secretary).                     tion was reviewed, that the methods used in,
                                                        or the facilities and controls used for, the
 (4) Basis for finding                                  manufacture, processing, packing, or instal-
   For purposes of this section, the finding as         lation of such tobacco product do not con-
 to whether the marketing of a tobacco product          form with the requirements of section 387f(e)
 for which an application has been submitted is         of this title and were not brought into con-
 appropriate for the protection of the public           formity with such requirements within a
 health shall be determined with respect to the         reasonable time after receipt of written no-
 risks and benefits to the population as a              tice from the Secretary of nonconformity;
 whole, including users and nonusers of the to-           (E) on the basis of new information before
 bacco product, and taking into account—                the Secretary, evaluated together with the
     (A) the increased or decreased likelihood          evidence before the Secretary when the ap-
   that existing users of tobacco products will         plication was reviewed, that the labeling of
   stop using such products; and                        such tobacco product, based on a fair evalua-
     (B) the increased or decreased likelihood          tion of all material facts, is false or mis-
   that those who do not use tobacco products           leading in any particular and was not cor-
   will start using such products.                      rected within a reasonable time after receipt
 (5) Basis for action                                   of written notice from the Secretary of such
                                                        fact; or
   (A) Investigations                                     (F) on the basis of new information before
     For purposes of paragraph (2)(A), whether          the Secretary, evaluated together with the
   permitting a tobacco product to be mar-              evidence before the Secretary when such
   keted would be appropriate for the protec-           order was issued, that such tobacco product
   tion of the public health shall, when appro-         is not shown to conform in all respects to a
   priate, be determined on the basis of well-          tobacco product standard which is in effect
   controlled investigations, which may in-             under section 387g of this title, compliance
§ 387k                            TITLE 21—FOOD AND DRUGS                                          Page 634

   with which was a condition to the issuance        (June 25, 1938, ch. 675, § 910, as added Pub. L.
   of an order relating to the application, and      111–31, div. A, title I, § 101(b)(3), June 22, 2009, 123
   that there is a lack of adequate information      Stat. 1807.)
   to justify the deviation from such standard.
                                                                         Editorial Notes
 (2) Appeal
                                                                       PRIOR PROVISIONS
   The holder of an application subject to an
 order issued under paragraph (1) withdrawing          A prior section 910 of act June 25, 1938, was renum-
 an order issued pursuant to subsection              bered section 1010 and is classified to section 399a of
 (c)(1)(A)(i) may, by petition filed on or before    this title.
 the 30th day after the date upon which such         § 387k. Modified risk tobacco products
 holder receives notice of such withdrawal, ob-
 tain review thereof in accordance with section      (a) In general
 387l of this title.                                   No person may introduce or deliver for intro-
 (3) Temporary suspension                            duction into interstate commerce any modified
                                                     risk tobacco product unless an order issued pur-
   If, after providing an opportunity for an in-     suant to subsection (g) is effective with respect
 formal hearing, the Secretary determines            to such product.
 there is reasonable probability that the con-
 tinuation of distribution of a tobacco product      (b) Definitions
 under an order would cause serious, adverse           In this section:
 health consequences or death, that is greater         (1) Modified risk tobacco product
 than ordinarily caused by tobacco products on           The term ‘‘modified risk tobacco product’’
 the market, the Secretary shall by order tem-         means any tobacco product that is sold or dis-
 porarily suspend the authority of the manu-           tributed for use to reduce harm or the risk of
 facturer to market the product. If the Sec-           tobacco-related disease associated with com-
 retary issues such an order, the Secretary            mercially marketed tobacco products.
 shall proceed expeditiously under paragraph
 (1) to withdraw such application.                     (2) Sold or distributed
                                                         (A) In general
(e) Service of order
                                                           With respect to a tobacco product, the
  An order issued by the Secretary under this
                                                         term ‘‘sold or distributed for use to reduce
section shall be served—
                                                         harm or the risk of tobacco-related disease
    (1) in person by any officer or employee of
                                                         associated with commercially marketed to-
  the department designated by the Secretary;
                                                         bacco products’’ means a tobacco product—
  or
                                                             (i) the label, labeling, or advertising of
    (2) by mailing the order by registered mail
                                                           which represents explicitly or implicitly
  or certified mail addressed to the applicant at
                                                           that—
  the applicant’s last known address in the
                                                                (I) the tobacco product presents a
  records of the Secretary.
                                                             lower risk of tobacco-related disease or
(f) Records                                                  is less harmful than one or more other
 (1) Additional information                                  commercially marketed tobacco prod-
                                                             ucts;
   In the case of any tobacco product for which                 (II) the tobacco product or its smoke
 an order issued pursuant to subsection                      contains a reduced level of a substance
 (c)(1)(A)(i) for an application filed under sub-            or presents a reduced exposure to a sub-
 section (b) is in effect, the applicant shall es-           stance; or
 tablish and maintain such records, and make                    (III) the tobacco product or its smoke
 such reports to the Secretary, as the Sec-                  does not contain or is free of a sub-
 retary may by regulation, or by order with re-              stance;
 spect to such application, prescribe on the
 basis of a finding that such records and reports            (ii) the label, labeling, or advertising of
 are necessary in order to enable the Secretary            which uses the descriptors ‘‘light’’,
 to determine, or facilitate a determination of,           ‘‘mild’’, or ‘‘low’’ or similar descriptors; or
 whether there is or may be grounds for with-                (iii) the tobacco product manufacturer of
 drawing or temporarily suspending such order.             which has taken any action directed to
                                                           consumers through the media or other-
 (2) Access to records
                                                           wise, other than by means of the tobacco
   Each person required under this section to              product’s label, labeling, or advertising,
 maintain records, and each person in charge of            after June 22, 2009, respecting the product
 custody thereof, shall, upon request of an offi-          that would be reasonably expected to re-
 cer or employee designated by the Secretary,              sult in consumers believing that the to-
 permit such officer or employee at all reason-            bacco product or its smoke may present a
 able times to have access to and copy and                 lower risk of disease or is less harmful
 verify such records.                                      than one or more commercially marketed
(g) Investigational tobacco product exemption              tobacco products, or presents a reduced ex-
    for investigational use                                posure to, or does not contain or is free of,
                                                           a substance or substances.
  The Secretary may exempt tobacco products
intended for investigational use from the provi-         (B) Limitation
sions of this subchapter under such conditions             No tobacco product shall be considered to
as the Secretary may by regulation prescribe.            be ‘‘sold or distributed for use to reduce
